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    Exhibit 1
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS
                           ROCK ISLAND DIVISION

APRIL HUSTON,                          )
                                       )
          Plaintiff,                   )      Case No.
                                       )      4:21-cv-04147-SLD-JEH
          v.                           )
                                       )
CONAGRA BRANDS, INC.,                  )
                                       )
          Defendant.                   )

          CONAGRA BRANDS, INC.’S REPLY BRIEF IN SUPPORT
         OF ITS MOTION TO DISMISS CLASS ACTION COMPLAINT



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                                       INTRODUCTION

       Plaintiff’s opposition (Dkt. 10) relies on inapposite case law and attacks strawmen that

have no bearing on the arguments or caselaw cited in Conagra’s briefing. Plaintiff claims that

Conagra’s Duncan Hines Fudge Brownie Mix (“Brownie Mix”) is falsely labeled as a “Chewy

Fudge” brownie mix and “Thick and Fudgy” because it does not contain “dairy ingredients with

milkfat.” But even from the outset, Plaintiff’s theory of deception fails because she mistakes the

Brownie Mix for a completely different product: fudge candy. In reality, the Duncan Hines

Brownie Mix is a dry, shelf-stable mix, and nowhere does the labeling indicate that the Brownie

Mix: is made with milk; contains dairy ingredients with milkfat; or contains no other fats or oils.

Simply put, reasonable consumers would not be misled by the “Chewy Fudge Brownie Mix” and

“Thick and Fudgy” statements on the Brownie Mix, and, separately, the additional statements on

the label would dispel any irrational understanding of the label.

       The Court should dismiss Plaintiff’s Complaint in its entirety with prejudice.

                      ARGUMENT AND CITATION TO AUTHORITY

       A. Plaintiff Relies on Inapposite Caselaw that Has No Bearing on this Dispute

       Conagra’s Motion demonstrates that Plaintiff cannot plausibly allege that a significant

portion of “the general consuming public . . . acting reasonably” could be misled by the

statements “Chewy Fudge Brownie Mix” and “Thick and Fudgy” on the label. Geske v. PNY

Techs., Inc., 503 F. Supp. 3d 687, 705 (N.D. Ill. 2020). In a misguided attempt to avoid

dismissal, Plaintiff twists the law beyond recognition to argue that the Seventh Circuit’s decision

in Bell v. Publix Super Markets, Inc. precludes dismissal here. 982 F.3d 468 (7th Cir. 2020).

Bell has no bearing on whether reasonable consumers would embrace Plaintiff’s strained

understanding of “Fudge Brownie Mix” and “Thick and Fudgy” to make the leap that the




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Brownie Mix should contain unnamed “dairy ingredients with milkfat.” Compl. (Dkt. 1) ¶ 47.

       In Bell, the Seventh Circuit concluded the statement “100% Grated Parmesan Cheese”—

which was prominently featured on a cheese shaker tube’s front label—was misleading on its

face because the product contained additional ingredients. The Bell Court reversed dismissal on

the pleadings because it was not reasonable to expect consumers to read back-of-label

disclaimers to correct this potentially misleading claim on a front label.        Bell’s reasoning,

however, is inapposite here.      First, the label “100% Grated Parmesan Cheese” is easily

distinguishable from the label at bar because this case simply does not involve an express front

label statement about the Brownie Mix’s dairy content. For Bell to be analogous at all would

require the subject product to bear a “made with 100% real dairy” (or similar) claim. There is

none. Second, “100% Grated Parmesan Cheese” reinforces the belief that a parmesan cheese

product contained one ingredient: parmesan cheese. That is not the case for the Brownie Mix—

which must include multiple ingredients. It even has baking instructions, which call for adding

more ingredients (including, as a “swap” option, milk). Bell has no impact here.

       Plaintiff is left with arguing that Conagra cannot point to the ingredients list as a defense

because of what she alleges is a “front label misrepresentation.” She suggests that Conagra

should not be allowed to “parse” a label’s language for any perceived ambiguity. See Opp’n at

6. But Plaintiff’s claim of a “front label misrepresentation” turns Bell on its head and represents

the very kind of strained, unreasonable interpretation that the Bell court criticized. See Bell, 982

F.3d at 480 (rejecting construction of the label “simply because lawyers can construe” it in a

particular way). Much to Plaintiff’s disappointment, there is no “front label misrepresentation.”

The Brownie Mix does not state that it: is made with milk; contains dairy ingredients with

milkfat; or contains no other fats or oils. Plaintiff’s phantom “front label misrepresentation” is,




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in reality, not a misrepresentation at all—and, in all events, is incomparable to the “100% Grated

Parmesan Cheese” representation in Bell.

       What remains is an unsupported claim about “dairy ingredients with milkfat” in Brownie

Mix that makes no claim about its dairy content. Dismissal is appropriate because Plaintiff

alleges (implausibly) that “a consumer will read a true statement on a package . . . and assume

things about the products other than what the statement actually says.” Red v. Kraft Foods, Inc.,

No. 10-cv-1028, 2012 U.S. Dist. LEXIS 164461, at *9 (C.D. Cal. Oct. 25, 2012).

       B. Plaintiff’s Other Arguments Are Speculative and Meaningless

       Next, Plaintiff persists in attacking strawmen that have no bearing on Conagra’s actual

arguments or the wealth of authority cited in Conagra’s briefing. She first singles out a handful

of cases cited in Conagra’s Motion, waving them away with illusory distinctions that they are

based on mere “subjective” beliefs, involve flavor claims (not foods), or assert impossible

expectations. See Opp’n at 2-4. Plaintiff then hand-picks other cases with even more farfetched

claims and allegations, in hopes they will add a gloss of plausibility to her own claims. See id. at

4 (citing dismissed claims challenging that “Froot Loops” do not have fruit, Cap’n Crunch’s

Crunchberries do not have fruit, and that “Original Vanilla” and “Classic” Drumsticks are not

more wholesome or nutritious than other ice cream products). Plaintiff concludes by criticizing

Conagra for not explaining “why Plaintiff’s allegations lack ‘common sense.’” Opp’n at 3.

       But Plaintiff bears the burden of asserting a plausible claim for relief, and even a cursory

review of the allegations and label demonstrates “why” Plaintiff cannot do so here: the product is

a dry, shelf-stable mix; its label is accurate, true, and makes no representation that it contains

dairy with milkfat; and Plaintiff herself conceded that using non-dairy ingredients does not make

a fudge brownie product any more—or less—fudgy. Compl. (Dkt. 1) ¶ 30 (admitting fat




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ingredients in fudge “are typically from dairy or vegetable oils”) (emphasis added).

       Plaintiff’s other arguments simply duck the substance of Conagra’s Motion, ignore the

bulk of the cases cited in Conagra’s briefing, and disregard the mounting body of case law that

has found similar claims and allegations lacking. For example, Plaintiff makes no effort to

distinguish the cases, in which courts have dismissed similar “made with real” labeling suits

(including a number raised by Mr. Sheehan) as implausible and because they defy reasonable

consumers’ everyday experiences. See Motion at 7-8 (collecting cases).

       These are not one-off decisions, but rather part of a growing corpus of cases that support

Conagra’s Motion. Indeed, since Conagra filed its opening brief, other decisions (including

several from Illinois district courts) have joined the chorus, rejecting strikingly similar claims

asserted by Plaintiff’s counsel. For example, in Ceretti v. Whole Foods Market Group, Inc., the

Northern District of Illinois dismissed the plaintiff’s challenges that an ice cream bar’s chocolate

coating had “less chocolate than consumers expect” and “wasn’t only chocolate” because the

“packaging wasn’t likely to deceive a significant portion of reasonable consumers.” No. 21-CV-

5516, 2022 U.S. Dist. LEXIS 65513, at *6, *7 (N.D. Ill. Apr. 8, 2022). Like here, the plaintiff

also “want[ed] to ground her interpretation of [the label] on dictionary definitions, consumer

preferences, survey results, and federal regulations.” Id. The court rejected that effort because

“[n]one of plaintiffs’ allegations shows that [the defendant] was lying . . . [and the] plaintiff

hasn’t alleged that consumers were aware of those definitions or would expect a chocolate

coating on ice cream to conform precisely to those definitions.” Id. at *7-8. Other recent cases

are in accord. See Chiappetta v. Kellogg Sales Co., No. 21-cv-3545, 2022 U.S. Dist. LEXIS

35632, at *9-10 (N.D. Ill. Mar. 1, 2022) (dismissing suit alleging that a strawberry Pop-Tarts

label deceptively implies that the filling contains “more strawberries than it does”: the plaintiff’s




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interpretation “is unreasonable and unactionable” because the label “does not state or suggest

anything about the amount of strawberries in the Product’s filling”); Yu v. Dreyer’s Grand Ice

Cream, Inc., No. 20-cv-8512-ER, 2022 U.S. Dist. LEXIS 47043, at *13-16 (S.D.N.Y. Mar. 16,

2022) (dismissing suit alleging that ice cream bar’s label “Dipped in Rich Milk Chocolate” was

deceptive because it contained vegetable oils: the allegation that the chocolate was no longer

“real chocolate” as a result of the vegetable oils was unpersuasive, and the ingredient list

confirmed the representations on the packaging); Lemke v. Kraft Heinz Food Co., No. 21-cv-278,

at 12 (W.D. Wisc. May 2, 2022) (“Because Lemke has not plausibly alleged that a reasonable

consumer won’t receive the ‘mozzarella cheese,’ ‘real cheese’ and ‘tomato sauce’ provided on

the front of the package of defendant’s Bagel Bites, plaintiff has failed to state a claim for relief.

As such, this court agrees with the recent decisions issued by the Northern and Southern District

Courts of Illinois, as well as the Southern District of New York, in rejecting other suits brought

by plaintiff’s counsel for advancing an interpretation of a product’s packaging that is

‘unreasonable and unactionable.’”).

       Finally, Plaintiff persists in making conclusory arguments that the ingredients for fudge

candy and brownie mix are one and the same. They are not. And the Court need not make the

leap that because some recipes for fudge candy contain milkfat, all dry fudge brownie mixes

should, too. Reasonable consumers know that if they had any question as to the contents of the

Brownie Mix, “[t]he ingredient list[] thus clarif[ies]—in exactly the spot consumers are trained

to look[.]” Davis v. Hain Celestial Grp., Inc., 297 F. Supp. 3d 327, 337 (E.D.N.Y. 2018).

                                          CONCLUSION

       Because Plaintiff’s theory of deception in this case is unreasonable and implausible, her

claims should be dismissed with prejudice.




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May 16, 2021                   Respectfully submitted,


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